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                     UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF TEXAS
                             VICTORIA DIVISION

IN RE:                                        §
                                              §
SCOTT VINCENT VAN DYKE,                       §      CASE NO. 21-60052 (CML)
                                              §      (Chapter 7)
       Debtor.                                §

           NOTICE OF APPEARANCE AS CO-COUNSEL FOR THE DEBTOR
                   AND REQUEST FOR SERVICE OF NOTICES

TO THE HONORABLE CHRISTOPHER M. LOPEZ, U.S. BANKRUPTCY JUDGE:

       COMES NOW, MATTHEW B. PROBUS OF THE PROBUS LAW FIRM, and makes

this Notice of Appearance as Co-Counsel for the Debtor and Request for Service of Notices as

follows:

       1. The undersigned requests, pursuant to Rules 2002 and 9007 of the Federal Rules of

Bankruptcy Procedure (the Bankruptcy Rules) and sections 102(1), 342 and 1109(b) of title 11 of

the United States Code, 11 U.S.C. §§ 101, et seq. (as amended, the Bankruptcy Code), that all

notices given or required to be given and all papers served or required to be served in this case be

also given to and served, whether electronically or otherwise, on:

                                      Matthew B. Probus
                                    The Probus Law Firm
                            10497 Town and Country Way, Suite 930
                                    Houston, Texas 77024
                                    (713) 258-2700 (Tele)
                                     (713) 258-2701 (Fax)
                             matthewprobus@theprobuslawfirm.com
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                                            THE PROBUS LAW FIRM

                                            By:/s/ Matthew B. Probus
                                                   Matthew B. Probus
                                                   Texas State Bar No. 16341200
                                                   Fed. I.D. No. 10915

                                            10497 Town and Country Way, Suite 930
                                            Houston, Texas 77024
                                            Tel. (713) 258-2700
                                            Fax (713) 258-2701
                                            matthewprobus@theprobuslawfirm.com

                                            ATTORNEYS FOR DEBTOR,
                                            SCOTT VINCENT VAN DYKE

                                     Certificate of Service

        I hereby certify that a true and correct copy of the foregoing instrument has been served
upon all parties registered to receive notices by PACER via the Court’s ECF/PACER system on
this 7th day of July 2022.

                                            /s/ Matthew B. Probus
                                            Matthew B. Probus




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